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                                         UNITED STATES DISTRICT COURT
                                                   FOR THE
                                             DISTRICT OF ARIZONA

Ronald Briner,                                   )
                                                 )
                  Plaintiff,                     )           MDL Case No. 2:15-md-02641-DGC
                                                 )
                     v.                          )           Civil Action No. CV-17-04495-PHX-DGC
                                                 )
Bard Peripheral Vascular, Inc. and C. R.         )
Bard, Inc., et al.,                              )
                                                 )
                 Defendant.

                                             APPEARANCE OF COUNSEL

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.

Date: December 8, 2017                               /s/ Richard B. North, Jr.
                                                     Attorney's signature

                                                     Richard B. North, Jr. (Ga. Bar No. 545599)
                                                     Printed name and bar number

                                                     Nelson Mullins Riley & Scarborough, LLP
                                                     201 17th St., NW, Suite 1700, Atlantic Station, Atlanta, GA 30363
                                                     Address

                                                     richard.north@nelsonmullins.com
                                                     E-mail Address

                                                     (404) 322-6000
                                                     Telephone number

                                                     (404 322-6050
                                                     FAX number
